UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK °

ANGELA TAYLOR

gCOMPLAINT AND

-against- 0 A | JURY DEMAND

THE CITY OF NEW YORK, POLICE OFFICER
ALEXANDER SHIMIN AND JOHN DOE #1-3
Defendants.

PRELIMINARY STATEMENT

1. This is a civil rights action in which plaintiff seeks relief for the violation of her rights
secured by 42 U.S.C. §1983 and the Fourth and Fourteenth Amendments to the United States
Constitution, and the laws and Constitution of the State of New York.

2. The claims arise from a May 16, 2012 incident in which officers of the New York City
Police Department ("NYPD"), acting under color of state law, intentionally and willfully
subjected plaintiff to, among other things, false arrest and malicious prosecution.

3. Plaintiff seeks monetary damages (special, compensatory, and punitive) against
defendants, as well as an award of costs and attorneys’ fees, and such other and further relief as
the Court deems just and proper.

JURISDICTION

4. This action is brought pursuant to 28 U.S.C. §1331, 42 U.S.C. §1983, and the Fourth and
Fourteenth Amendments to the United States Constitution. Pendent party jurisdiction and
supplementary jurisdiction over plaintiif’s state law claims are asserted.

5. The amount in controversy exceeds $75,000.00 excluding interest and costs.

6. Venue is laid within the United States District Court for the Eastern District of New York
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in that Defendant City of New York is located within, and the events occurred within, the
boundaries of the Eastern District of New York.
PARTIES

7. Plaintiff is a citizen of the United States and at all times here relevant resided in Kings
County, City and State of New York.

8. The City of New York is a municipal corporation organized under the laws of the State of
New York.

9. Police Officer Alexander Shimin was, at all times here relevant, a police officer of the
NYPD, and as such was acting in the capacity of an agent, servant and employee of the:City of
New York. On information and belief, at all times relevant hereto, defendant Shimin was
involved in the decision to arrest plaintiff without probable cause or failed to intervené in the
actions of his fellow officers when he observed them arresting plaintiff without probable cause.
Officer Shimin is sued in his individual capacity. .

10. All other individual defendants (“the officers”), including John Doe #1-3, individuals
whose names are currently unknown to plaintiff, are employees of the NYPD, and are sued in
their individual capacities.

il. At all times here mentioned defendants were acting under color of state law, to wit,
under color of the statutes, ordinances, regulations, policies, customs and usages of the City and
State of New York.

FACTUAL ALLEGATIONS

12. Plaintiff is a 26 year old woman with no criminal record. ‘(On May 16, 2012, plaintiff

was outside the home she shares with her mother on Bristol St, Brooklyn, NY. Plaintiff was

standing on the stoop talking with a friend and waiting for her mother to return from work.
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13. At approximately 6PM, several officers, including the defendants, approached plaintiff
and asked what she was doing there. Plaintiff explained that she lived there with her mother.
The officers demanded to see identification. Plaintiff explained that her identification was inside

the home. Several neighbors were also outside and confirmed for the officers that plaintiffs

mother had lived there for many years. Nevertheless, the officers then placed plaintiff under -

arrest, telling her that she had been trespassing.

14. Plaintiff was taken in handcuffs to the police precinct. Several hours after her arrest,

her mother returned from work, learned of her daughter’s arrest, and went to the precinct. Once -

there, she explained that her daughter lives with her at the location of the arrest. The officers
continued to hold plaintiff.

15. After midnight, plaintiff was finally released with a Desk Appearance Ticket charging
her with trespass. The Kings County District Attorney’s Office declined to prosecute the case.
The matter has been sealed.

16. At all times during the events described above, the defendant police officers were

engaged in a joint venture and formed an agreement to violate plaintiff's rights. The individual

officers assisted each other in performing the various actions described and lent their physical _

presence and support and the authority of their office to each other during said events. They
failed to intervene in the obviously illegal actions of their fellow officers against plaintiff, and
agreed, shortly after the incident, not to report each others’ illegal actions and to fabricate a story
and falsely charge plaintiff with offenses, to justify the injuries.

17. During all of the events above described, defendants acted maliciously and with intent

to injure plaintiff.
DAMAGES
18. As a direct and proximate result of the acts of defendants, plaintiff suffered the

following injuries and damages:

a. Violation of her rights pursuant to the Fourth and Fourteenth Amendments to the

United States Constitution to be free from an unreasonable search and seizure;

b, Violation of her right to Due Process of Law under the Fourteenth Amendment to

the United Stated Constitution;

c. Violation of her New York State Constitutional rights under Article 1, Seétion 12 .

to be free from an unreasonable search and seizure; :

d. Violation of her New York State Constitutional right under Article 1, Section 6 to

Due Process of Law;

e. Emotional trauma and suffering, including fear, embarrassment, humiliation,

emotional distress, frustration, extreme inconvenience, anxiety;

f. Loss of liberty.

FIRST CAUSE OF ACTION
(42 U.S.C. § 1983)

19. The above paragraphs are here incorporated by reference.

20. Defendants acted under color of law and conspired to deprive plaintiff of hex civil,
constitutional and statutory rights to be free from unreasonable search and seizure and to due
process of law pursuant to the Fourth and Fourteenth Amendments to the United States
Constitution, and are liable to plaintiff under 42 U.S.C. §1983.

21. Defendants falsely arrested plaintiff and failed to intervene in each other’s obviously

illegal actions and maliciously prosecuted her.
22, Plaintiff has been damaged as a result of defendants’ wrongful acts.

SECOND CAUSE OF ACTION
(MUNICIPAL LIABILITY)

23. The above paragraphs are here incorporated by reference.

24. The City is liable for the damages suffered by plaintiff as a-result of the conduct of their

employees, agents, and servants, in that, after learning of their employees’ violation of plaintifr S
constitutional rights, they failed to remedy the wrong; they have created a policy or custom under
which unconstitutional practices occurred and allowed such policies or customs to continue, and
they have been grossly negligent in managing subordinates who caused the unlawful condition or
event.

25. The City has been alerted to the regular use of excessive force and false arrests by its

police officers, but has nevertheless exhibited deliberate indifference to such excessive force and

false arrests; that deliberate indifference caused the violation of plaintiff's constitutional rights in
this case.

.26. The aforesaid event was not an isolated incident. The City has been aware for some
time, from lawsuits, notices of claim, complaints filed with the Civilian Complaint Review

Board, and judicial rulings suppressing evidence and finding officers incredible as a matter of

law, that a disturbing number of their police officers use excessive force, unlawfully search and .

seize citizens, bring charges against citizens with no legal basis, perjure themselves in charging
instruments and testimony, and fail to intervene in and report the obviously illegal actions of

their fellow officers. Nevertheless, the City has allowed policies and practices that allow the

aforementioned to persist.

27. For example, the well documented failures of the Civilian Complaint Review Board |

(“the CCRB”), a City agency, to substantiate obviously meritorious citizen complaints have gone —

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uncorrected. The CCRB regularly finds complainants lack credibility based on the fact that such
complainants have also brought lawsuits to remedy the wrongs they have experienced, a practice
that often results in not substantiating the most serious charges brought to them. In addition, the
CCRB virtually never initiates their own findings of false statements against officers who have
made false statements to the CCRB in their own defense, nor do they initiate findings that °
officers have failed to report their fellow officers’ misconduct; thus, officers have no real
incentive to come forward, or to testify truthfully at the CCRB. The CCRB has no enforcement
mechanisms once making a finding against an officer; it can only make recommendatioris to the
NYPD, once finding misconduct by an officer.

28. The NYPD, once receiving a substantiated complaint by the CCRB, fails to adequately
discipline officers for misconduct. The NYPD Department Advocate, which is endowed with
the responsibility of following up on substantiated CCRB charges, is understaffed and under-
utilized. Furthermore, in the extraordinarily rare event that the CCRB substantiates a complaint
and the Department Advocate proves the case in an internal trial against an officer, the police
commissioner still maintains the power to reduce the discipline against such an officer.

29. Further, the City has no procedure to notify individual officers or their supervisors of
unfavorable judicial review of their conduct. Without this notification, improper search and
seizure practices and incredible testimony go uncorrected. Additionally, according to a report of
the New York City Bar Association issued in’2000, the City has isolated their law department
from the discipline of police officers, so that civil suits against police officers for actions taken in
their capacity as police officers have no impact on the officers’ careers, regardless of the
outcome of the civil actions. Alan Hevesi, as New York City Comptroller, in 1999 reported that

there was a “a total disconnect" between the settlements of even substantial civil claims and
police department action against officers.

30. The City is aware that all of the aforementioned has resulted in violations of citizens”
constitutional rights. Despite such notice, the City has failed to take corrective action. This
failure and these policies caused the officers in the present case to violate plaintiff's civil rights,
without fear of reprisal. Furthermore, although the City has been on notice, through plaintiff s
complaints to the CCRB from the first day of the incidents complained of, the City has failed to
remedy the wrong.

31. Plaintiff has been damaged as a result of the deliberate indifference of the City to the

constitutional rights of the City’s inhabitants.

WHEREFORE, plaintiff demands judgment against the defendants, jointly and severally,

as follows:

A. In favor of plaintiff in an amount to be determined by a jury for each of plaintiff's

causes of action;

B. Awarding plaintiff punitive damages in an amount to be determined by a jury;
C. Awarding plaintiff reasonable attorneys' fees, costs and disbursements of this
action; and

D. Granting such other and further relief as this Court deems just and proper.

JURY DEMAND

Plaintiff demands a trial by jury.

TO:

Case 1:13-cv-05759-BMC . Document 1

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DATED: Brooklyn, New York
October 10, 2013

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